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          This is Exhibft.....k......,.......,referred
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                                                                     Court File No: 09-CL-7950

                                      ONTARIO
                             SUPERIOR COURT OF JUSTICE
                                 (COMMERCIAL LIST)



THE HONOURABLE MR.                                        WEDNESDAY, THE 15™ DAY OF
JUSTICE MORAWETZ                                                           MAY, 2013
                                                 )


    IN THE MATTER OF THE COMPANIES' CREDITORS ARRANGEMENT ACT,
                    R.S.C. 1985, c. C-36, AS AMENDED

 AND IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF
NORTEL NETWORKS CORPORATION, NORTEL NETWORKS LIMITED, NORTEL
NETWORKS GLOBAL CORPORATION, NORTEL NETWORKS INTERNATIONAL
         CORPORATION AND NORTEL NETWORKS TECHNOLOGY
                CORPORATION (the "Canadian Debtors")

                                 9
         l l d m O N UNDER THE COMPANIES        CREDITORS ARRANGEMENT ACT,
               S|        R.S.C. 1985, c. C-36, AS AMENDED


                                         ORDER
             vnllocation Protocol - Litigation Timetable and Discovery Plan)


       WHEREAS this Court approved an allocation protocol (the "Allocation Protocol")

pursuant to an Order (Allocation Protocol) dated April 3,2013.


       WHEREAS pursuant to an Endorsement o f this Court dated April 17, 2013, a joint

hearing was convened between this Court and the United States Bankruptcy Court for the

District o f Delaware to consider a litigation timetable and discovery plan in connection with the

Allocation Protocol, which hearing was heard on April 24,2013.


       ON HEARING the submissions of counsel for the Canadian Debtors, Ernst & Young

Inc. in its capacity as monitor of the Canadian Debtors (the "Monitor"), the members o f the
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                                             - 2 -


Canadian Creditors Committee, the Joint Administrators o f Nortel Networks UK Limited and the

other EMEA Debtors, the Trustee o f the Nortel Networks UK Pension Trust Limited and the

Board of the UK Pension Protection Fund, the former directors and officers o f Nortel Networks

Corporation and Nortel Networks Limited, Nortel Networks Inc. and certain o f its affiliates in

US Chapter 11 bankruptcy proceedings, Wilmington Trust, National Association, the Bank of

New York Mellon, the Informal Nortel Noteholders Group, the Official Committee o f Unsecured

Creditors of the US Debtors, and Law Debenture Trust Company o f New York, this Court

having issued an Endorsement dated May 3,2013.


1.          THIS COURT ORDERS that the litigation timetable and discovery plan appended as

Schedule "A" to this Order (the "Litigation Timetable and Discovery Plan") be implemented.


2.          THIS COURT ORDERS that the Canadian Debtors and the Monitor are authorized to

take all steps necessary to carry out and give effect to the Litigation Timetable and Discovery

Plan.


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                         SCHEDULE "A"
          . (Litigation Timetable and Discovery Plan)
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                                                           US Interests and EMEA Debtors' Proposed Litigatio n Timetable as o f May 15, 2013


                                                          LITIGATION TIMETABLE


Pursuant to the US Court's and Canadian Court's Orders approving the Allocation Protocol, the Cross- Border Protocol, and the Cross-
                                     1
Border Claims Protocol, it is hereby ordered:

                                                                                                                   fill
May 16 by noon            Any Core Party who wishes to                  The US Claims Defendant Group               Dea< lime for the U.K. Pension
E.D.T.                    participate in the Allocation dispute         shall file and serve their responses        Claii nants to deliver their
                          shall serve a pleading or opening             to the US Claims.                           affir native pleading (which may
                          submission styled "Allocation                                                             be di jemed by them to serve as
                          Position of [•]" which will set out                                                       their Dispute Notices) setting
                          with reasonable particularity the                                                         forth , with reasonable
                          relief sought with respect to                                                             parti cularity, the relief sought,
                          allocation, the material facts relied                                                     mate rial facts relied upon and legal
                          upon and legal bases for the                                                              base i for their claims and the
                          allocation position being advanced                                                        grou nds upon which they seek to
                          by that Core Party by noon E.D.T.                                                         chall enge their disallowance.
                          on May 16,2013 and file the same
                          within the next business day.


May 17                    Any Core Party may serve a joinder
                          before May 17 and file the same
                          within the next business day,
                          provided that the joinder does not
                          advance any new legal bases and
                          does not rely on new material facts.




1        Capitalized terms shall have the meaning ascribed to them in the Allocation Protocol and Annex A attached hereto.
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May 17   The Discovery Participants shall aim to reach agreement on a Confidentiality Stip ulation and Protective Order
         as soon as possible. To the extent the Discovery Participants are unable to agree m a Confidentiality
         Stipulation and Protective Order, May 17 is the deadline for the Discovery Partici pants to file their versions of
         the Confidentiality Stipulation and Protective Order with the Courts.

May 22   Deadline for service o f limited and       Deadline for service o f limited and      Dead ine for service o f limited and
         specific requests for production of        specific requests for production of       specil Ic requests for production of
         non-privileged documents in                non-privileged documents in               non-p rivileged documents in
         accordance with the Discovery Plan         accordance with the Discovery             accon iance with the Discovery
         by each o f the Canadian Allocation        Plan by each of the US EMEA               Plan t iy each of the Canadian
         Group, the EMEA Allocation                 Claimants Group, the UK Pension           EMEj^ Claimants Group, the UK
         Group, the US Allocation Group,            Claimants, and the US Claims              Pensi< mi Claimants, and the
         and the Bondholder Allocation              Defendant Group.                          Canac ian Claims Defendant
         Group.                                                                               Grouj>.
May 22   Deadline for service of              Deadline for service of                         Deadl ine for service of
         Identification Interrogatories in    Identification Interrogatories in               Identi fication Interrogatories in
         accordance with the Discovery Plan accordance with the Discovery                     acconiance with the Discovery
         by each o f the Canadian Allocation Plan by each of the US EMEA                      Plant y each of the Canadian
         Group, the EMEA Allocation           Claimants Group, the UK Pension                 EMEiVClaimants Group, the UK
         Group, the US Allocation Group,      Claimants, and the US Claims                    Pensi<>n Claimants, and the
         and the Bondholder Allocation        Defendant Group, without                        Canac ian Claims Defendant
         Group, without prejudice to an       prejudice to a US Claim Party's                 Group i, without prejudice to a
         Allocation Group's right to later    right to later serve contention                 Canac ian Claim Party's right to
         serve contention interrogatories, as interrogatories, as to be discussed             later serve contention
         to be discussed and/or resolved by   and/or resolved by the Court.                   intern )gatories, as to be discussed
         the Courts.                                                                          and/oi resolved by the Court.




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May 24   Deadline for Core Party who is not
         in one of the Discovery Groups,
         and who seeks to serve document
         requests and/or interrogatories that
         are non-duplicative o f those
         document requests and/or
         interrogatories already served by
         the Allocation Groups, to seek
         leave o f the Court to serve such
         non-duplicative document requests
         and/or interrogatories if prior to this
         time, such Core Party has been
         unable to reach agreement with the
         Core Party on whom it seeks to
         serve the non-duplicative document
         requests and/or interrogatories after
         meeting and conferring with such
         Core Party in good faith.




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                                                                                      WSIS
May 29    The US Debtors, UCC, EMEA                                                    With respect to the Canadian
          Debtors, Joint Administrators,                                               Clair is, each Disputing Creditor
          Canadian Debtors, Monitor,                                                   shall receive from the Monitor and
          Bondholder Group, and any other                                              the C anadian Debtors, by May 29,
          Core Party who filed an opening                                              2013 a response to such Disputing
          submission may each file and serve                                           Cred tor's Affirmative Pleading
          a response to any opposing Core                                              settin g forth, with reasonable
          Party's opening submission or •                                              partic:ularity, the grounds for the
          designate its opening submission as                                          disall owance, the material facts
          a cross-response. Each o f the                                               reliec upon and the legal bases for
          responses may be made                                                        the d sallowance.
          individually, jointly, and/or by
          joining another Core Party's
          response.
June 3    Deadline for supplemental document requests and identification interrogatories re slated to new issues raised in
          responsive submissions.
June 6    In-person meet and confer between the Discovery Participants regarding the discc >veiy requests and
          interrogatories served, procedures governing the production of documents, depos tion procedures, and any
          other issues that have arisen thereof.

June 10   Deadline for responses and objections to document requests and objections to int< ;rrogatories in accordance
          with the Discoveiy Plan.

June 10   Subject to any objections, deadline for the recipients of document requests to con imence the rolling production
          of documents in accordance with the Discovery Plan.

July 3    Date by which parties served with document requests must certify to parties requ<;sting their documents
          substantial progress with regard to production o f documents.

July 22   Date by which parties served with document requests must certify to parties requ<ssting their documents
          substantial completion with regard to production o f documents.


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                                                                                        l i i i s
July 24   Deadline for identification by each    Deadline for identification by each     Dead line for identification by each
          Core Party of (i) its anticipated      US Claim Party o f (i) its              Cana dian Claim Party o f (i) its
          affiants as (non-expert) trial         anticipated affiants as (non-expert)    antici pated affiants as (non-expert)
          witnesses without prejudice to later   trial witnesses without prejudice to    trial ^vitnesses without prejudice to
          identification, provided that other    later identification, provided that     later identification, provided that
          Core Parties have an opportunity to    other US Claim Parties have an          other Canadian Claim Parties have
          depose such witnesses before trial,    opportunity to depose such              an op portunity to depose such
          and (ii) for designations o f which    witnesses before trial, and (ii) for    witne sses before trial, and (ii) for
          (if any) of that Core Party's          designations o f which (if any) of      desig nations o f which (if any) of
          previously filed affidavits/witness    that US Claim Party's previously        that CCanadian Claim Party's
          statements are being relied upon as    filed affidavits/witness statements     previ ausly filed affidavits/witness
          evidence at trial in accordance with   are being relied upon as evidence       statei nents are being relied upon as
          the Discoveiy Plan.                    at trial in accordance with the         evidenee at trial in accordance
                                                 Discoveiy Plan.                         with the Discoveiy Plan.

July 26   Deadline to file motions to compel and/or motions for a protective order with res]3ect to document discovery,
          Notwithstanding this deadline, when a dispute arises, the affected Discovery Part icipants shall promptly
          attempt to resolve any discovery disputes in good faith and once an impasse is resiched, file any motions with
          the relevant Court(s) promptly.

July 26   Deadline for each o f the Canadian     Deadline for each of the US            Dead line for each o f the Canadian
          Allocation Group, the EMEA             EMEA Claimants Group, the UK           EME A Claimants Group, the UK
          Allocation Group, and the US           Pension Claimants, and the US          Pension Claimants, and the
          Allocation Group to serve on any       Claims Defendant Group to serve        Cana iian Claims Defendant Group
          opposing Core Party the topics on      on any opposing Claim Party            tosei ve on any opposing Claim
          which that Core Party's                and/or a member of the Canadian        Party and/or a member o f the US
          representative is to be examined or    Claims Defendant Group the             Clain is Defendant Group the
          deposed in accordance with the         topics on which that Claim Party's     topics on which that Claim Party's
          Discovery Plan.                        representative is to be deposed        repreitentative is to be examined in
                                                 pursuant to Rule 30(b)(6) in           accor dance with the Discovery
                                                 accordance with the Discoveiy          Plan.
                                                 Plan.


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July 29        Deadline for parties to designate witnesses to be examined or deposed, subject tc later additions for the
               reasons set forth in the Discovery Plan. Each o f (1) the Canadian Allocation Grc •up and the Canadian Claims
               Defendant Group together; (2) the EMEA Allocation Group, the US EMEA Clai mants Group, the Canadian
               EMEA Claimants Group, and the UK Pension Claimants together; and (3) the U!^ Allocation Group and the
               US Claims Defendant Group together may designate a limited number o f fact wi tnesses for examination or
               deposition in accordance with the Discovery Plan. Parties are encouraged to idei itify witnesses as early as
               possible in order to facilitate scheduling.

August 2       Deadline for each Core Party that is   Deadline for each US Claim Party      Deac line for each Canadian Claim
               timely served with a request under     (other than the Committee) that is    Part) that is timely served with a
               Rule 34.04 o f the Ontario Rules of    timely served with a request under    requ<;st under Rule 34.04 o f the
               Civil Procedure and/or Rule            Rule 30(b)(6) of the United States    Onta rio Rules of Civil Procedure
               30(b)(6) o f the United States         Federal Rules of Civil Procedure      to id jntify its representative for an
               Federal Rules o f Civil Procedure to   to identify its representative for    oral (examination.
               identify its representative for oral   deposition.
               examination or deposition.
August 5       In-person meet and confer between the Discovery Participants regarding witnessss to be deposed or examined.
               deposition procedures and any other issues that have arisen.

September 13   Deadline to identify experts and the subject matter o f their reports in accordance with the Discovery Plan.
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September 27            Deadline to complete witness                    Deadline to complete witness                  Deadline to complete witness
                        depositions in accordance with the              depositions in accordance with the            depositions and cross
                        Discovery Plan, with a preference               Discovery Plan, with a preference             examinations on previously filed
                        to finish fact witness depositions              to finish fact witness depositions            affidavits/witness statements being
                        prior to any representative party               prior to any Rule 30(b)(6)                    tende red as evidence for trial (with
                        examinations or Rule 30(b)(6)                   depositions.                                  any undertakings to be answered
                        depositions.                                                                                  within three weeks o f each
                                                                                                                      examination), in accordance with
                                                                                                                      the Discovery Plan, with a
                                                                                                                      preference to finish fact witness
                                                                                                                      depositions prior to representative
                                                                                                                      party examinations.
October 4               Deadline for service o f expert reports (including exhibits) in accordance with the Discovery Plan.
November 1              Deadline for service o f responding experts' reports (including exhibits) in accordzince with the Discovery Plan

Week o f November       Preliminary pre-trial conference.
11

December 6              Deadline to complete depositions o f experts in accordance with the Discovery Plan

December 9*             Deadline to file a list o f all witnesses and exhibits that each Discovery Participant| intends to rely upon as part
                        o f its direct case.

December 13*            Deadline to file pre-trial motions.




      All dates for pre-trial submissions are subject to modification by the Courts at the preliminary pre-trial conference.

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December 13*          Deadline for filing o f opening written submissions with the Courts. The content o f such submissions will
                      include:

                      a) Pre-trial briefs;

                      b) All fact affidavits to be used as direct testimony;

                      c) All exhibits to be used in a Discovery Participant's direct case; and
                      d) All deposition testimony to be used in a Discovery Participant's direct case.

Week of December      Pre-Trial Conference(s) -                Pre-Trial Conference(s) -               Pre-Trial Conference(s) -
16,* i f the Courts
desire                By this date, the Core Parties shall By this date, the US Claim Parties          By this date, the Canadian Claim
                      have met and conferred with an       and the Canadian Claims                     Parties and the US Claims
                      effort to reach agreement on:        Defendant Group shall have met              Defemdant Group shall have met
                                                           and conferred with an effort to             and clonferred with an effort to
                      a) the undisputed facts to be agreed reach agreement on:                         reach agreement on:
                      upon for trial; and
                                                           a) the undisputed facts to be               a) the undisputed facts to be
                      b) the contents o f document briefs agreed upon for trial; and                   agreed upon for trial; and
                      for use at the Joint Hearing/ the
                      exhibits for use at the Joint        b) the exhibits for use at the Joint        b) the contents of document briefs
                      Hearing.                             Hearing.                                    for us e at the Joint Hearing.

                      All Nortel documents produced by         All Nortel documents produced by        A11Nortel documents produced by
                      a Discovery Participant to be            a Discovery Participant to be           a        Party to be deemed
                      deemed admissible without proof of       deemed admissible without proof         admissible without proof of
                      authenticity, integrity of the chain     of authenticity, integrity o f the      authenticity, integrity o f the chain
                      of possession or the integrity o f the   chain o f possession or the integrity   o f possession or the integrity of
                      system o f storage and retrieval         of the system o f storage and           the s;ystem o f storage and retrieval
                      unless objected to by this date on a     retrieval unless objected to by this    unless objected to by this date on a
                      particularized and document-by-          date on a particularized and            particularized and document-by-
                      document basis.                          document-by-document basis.             document basis.


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Begins January 6,     The US and Canadian courts will (a) hold simultaneously (i) hearings before the 1JS and Canadian courts
2014                  regarding Allocation, (ii) hearings before the US Court on the merits o f any rema ining US Claims, and (iii)
                      hearings before the Canadian Court on the merits o f any remaining Canadian Cla ms, provided, however, that
                      the US and Canadian Courts, in their discretion, may sit separately for portions o: *such hearings to hear
                      evidence or argument that is relevant to only the US Claims or only the Canadian Claims, and (b) issue their
                      respective decisions on (i), (ii), and (iii). The trial will begin with the Allocation issues and continue thereafter
                      with remaining issues to be addressed in this Allocation Protocol, including EME A Claims and UK Pension
                      Claims.

Any date in this Litigation Timetable may be amended by the written agreement of all Core Parties, subi nitted to the US Court
through the filing of a certification of counsel and to the Canadian Court through the filing o f a letter from the Monitor to Justice
Morawetz on notice to the Core Parties. Any Core Party may also file a motion with the applicable Cou it or Courts to modify this
Litigation Timetable upon a showing of good cause.




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                                                             ANNEXA

                                                          DEFINITIONS
Capitalized terms used in this Litigation Timetable but not otherwise defined in this Annex A shall have the meanings ascribed to
them in the Allocation Protocol.

Allocation Grou
           p:     Any o f the Canadian Allocation Group, the EMEA Allocation Group, the US Allocation Group, or the Bondholder
Allocation Group.

Bondholder Allocation Grou
                      p:       The Bondholder Group.
Canadian Allocation Grou
                    p:       The Canadian Debtors, the Monitor, and the CCC.
Canadian Claim Part
               y:      Any party in the Canadian EMEA Claimants Group or the Canadian Claims Defendant Group, or the UK
Pension Claimants.
Canadian Claim
         s:       Claims made by the Canadian EMEA Claimants Group and the UK Pension Claimai|its against any or all o f the
Canadian Debtors.
Canadian Claims Defendant Grou
                           p:      The Canadian Debtors against whom the Canadian EMEA Claimants Group and the UK
Pensions Claimants have brought claims, the Directors and Officers (but only with respect to claims of 1 ± i e Canadian EMEA Claimants
Group), and the Monitor.
Canadian EMEA Claimants Group:      The EMEA Debtors and/or the Joint Administrators or any other administrator o f an EMEA
Debtor who made claims against any or all o f the Canadian Debtors or Directors and Officers, and the UK Pension Claimants who
made claims against NNC and NNL. Cosme Rogeau, who has been appointed Liquidator for Nortel Neltworks SA under French
secondary proceedings, acts jointly with the Joint Administrators with respect to Nortel Networks SA.
Claim Grou
      p:      Any o f the US EMEA Claimants Group, the US Claims Defendant Group, the Canadian EMEA Claimants Group, the
Canadian Claims Defendant Group, or the UK Pension Claimants.

Discovery t:
          Participan Any Core Party or party o f the US EMEA Claimants Group, the US Claims Defendant Group, the Canadian
EMEA Claimants Group, or the Canadian Claims Defendant Group who is participating in discovery pixsuant to the Discovery Plan.

Discovery n:
          Pla   The Discovery Plan that will be entered by the Courts.


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Disputing Credito
          r:       Any party who has delivered an Affirmative Pleading to dispute the disallowance o f its claim by the Monitor and
the Canadian Debtors, which shall be deemed to include the EMEA Debtors.

EMEA Allocation Grou
                  p:       The UK Pension Claimants, the EMEA Debtors (including Nortel Networks International Finance &
Holding BV as behalf of itself and as assignee of Nortel Networks o.o.o.), and Nortel Networks Optical Components Ltd., Nortel
Networks AS, Nortel Networks AG, Nortel Networks South Africa (Pty) Limited, and Nortel Networks (Northern Ireland) Limited,
Cosmg Rogeau, who has been appointed Liquidator for Nortel Networks SA under French secondary p:roceedings, acts jointly with the
Joint Administrators with respect to Nortel Networks SA.

Identification Interrogatorie
               s:              Interrogatories seeking identification o f (i) the names, roles and last know(n contact information of
witnesses with knowledge o f information relevant to the subject matter of Allocation, EMEA Claims or UK Pension Claims, (ii)
information sufficient to identify transactions upon which any positions, claims, and/or defenses of the Recipient o f the interrogatory
rely. An interrogatory seeking the names o f multiple individuals or transactions shall be considered one interrogatory for purposes of
any numerical limit on the number o f interrogatories.

Representative Directors, officers, employees, attorneys, accountants, experts, consultants, financial advisors, or agents o f any o f the
s:
Core Parties, US Claim Parties, or Canadian Claim Parties.

U.K. Pension Claimant
             s:          Nortel Networks UK Pension Trust Limited and the Board o f the Pension Protection Fund.

US Allocation Grou
              p:        The US Debtors and the Committee.
US Claim
   s:       Claims made by the US EMEA Claimants Group and the UK Pension Claimants against ari;y or all o f the US Debtors.

US Claims Defendant Grou
                      p:    The US Debtors against whom the US EMEA Claimants Group and the U K Pension Claimants have
brought claims and the Committee.

US EMEA Claimants Grou  p:     The EMEA Debtors and/or Joint Administrators or any other administrate r or liquidator o f an EMEA
Debtor who made claims against any or all o f the US Debtors, Nortel Networks AS, Nortel Networks South Africa (Proprietary)
Limited, Nortel Networks AG, Nortel Networks Optical Components Limited, Northern Telecom France SA, Northern Telecom PCN
limited. Cosm£ Rogeau, who has been appointed Liquidator for Nortel Networks SA under French secdndary proceedings, acts
jointly with the Joint Administrators with respect to Nortel Networks SA.

US Claim Part
         v:      Any party in the US EMEA Claimants Group or the US Claims Defendant Group, or the UK Pension Claimants.



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                 US Interests and EMEA Debtors' Proposed Discoveiy Plan as o f May 15,2013



                                  DISCOVERY PLAN
1. Definitions       Capitalized terms used herein and not otherwise defined shall have the
                     meaning ascribed in the Allocation Protocol or Litigation Timetable.

2. Applicable        In accordance with the Cross Border Protocol, the Cross-Claims Protocol
   Procedural        and the Allocation Protocol, the following procedural regimes apply:
   Regime:
                         (1) With respect to Allocation, the Cross-Border, Cross-Claims and
                       -     Allocation Protocols apply to the extent not inconsistent with this
                             Discovery Plan, and the Commercial List Practice Direction and
                             the Rules o f Civil Procedure for Ontario, and the Federal Rules of
                             Bankruptcy Procedure and the Local Rules for the United States
                             Bankruptcy Court for the District of Delaware will apply as
                             applicable.

                         (2) With respect to US Claims, the Cross-Border and Cross-Claims
                             Protocols apply to the extent not inconsistent with this Discovery
                             Plan, and the Federal Rules of Bankruptcy Procedure and the
                             Local Rules for the United States Bankruptcy Court for the
                             District of Delaware will apply as applicable.

                         (3) With respect to Canadian Claims, the Cross-Border Protocol, the
                             Cross-Claims Protocols, the Claims Resolution Order, and the
                             EMEA Claims Procedure Order apply to the extent not
                             inconsistent with this Discovery Plan, and the Commercial List
                             Practice Direction and the Rules o f Civil Procedure for Ontario
                             will apply as applicable.

3. Scope of          a) Definition o f Documents
   Documentary
   Discovery         References to "Documents" are intended to cover any record that contains
   Among             any type of information or data in any form and includes everything
   Discovery         within the definition of "document" contemplated by Rule 30.01(a) of the
   Participants:     Rules of Civil Procedure for Ontario and/or the types of documents
                     contemplated by Rule 34 of the Federal Rules o f Civil Procedure.

                      b) Reasonably Accessible Documents and Proportionality

                      No Discovery Participant will be required to search data sources,
                      including applications and databases, that it reasonably understands to
                      already be in the possession, custody, or control o f the Allocation Group
                      or Claim Group making the request, provided that a Discovery Participant
                      shall enumerate in its response to a discovery request any data sources
                      that are not being searched on this ground.
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         Each Discovery Participant will only be required to search reasonably
         accessible data. A Discovery Participant who believes that responsive
         materials are reasonably likely to be found in a decommissioned
         application or in storage media that cannot be accessed without
         considerable burden, time or expense shall give prompt notice o f this in
         its response to a document request, and shall meet and confer in good
         faith with the requesting party or parties regarding the cost and
         practicality of accessing such responsive materials giving attention to the
         principle of proportionality.

         A Discovery Participant shall not be required to re-produce a document
         that has already been produced by another Discovery Participant and the
         same document shall not be required to be produced by more than one
         Discovery Participant.

         In light of the volume of the Debtors' hard-copy documents maintained in
         off-site storage facilities, and the abundance o f available and overlapping
         electronic data, no Discovery Participant will be obligated to search such
         hard-copy documents, and rather will produce indices o f such hard-copy
         documents (to the extent they exist) with their responses to any document
         request and shall meet and confer in good faith with the requesting party
         or parties regarding hard-copy documents that will be made available for
         inspection upon request. I f any such documents inspected are copied for
         any requesting party, all other parties shall be notified and copies shall be
         provided to all parties at their own expense. I f any party creates an
         electronic version of those documents, that party shall be responsible for
         loading the electronic version of the document(s) onto the Merrill
         Lextranet database in accordance with Schedule A hereto to the extent
         reasonable and not overly burdensome.

         c) Previously Produced Documents

         Documents produced into the Merrill Lextranet database ("Mediation
         Dataroom") for the purpose o f the several mediations in this proceeding
         may be treated as having been produced in the Allocation, US Claims and.
         Canadian Claims litigation, and any Discovery Participant that does not
         already have such documents shall be provided access to this Merrill
         Lextranet database, subject to an appropriate confidentiality, protective
         and/or sealing orders from the Court(s) and a provision allowing the
         Discovery Participants to clawback any privileged documents that may
         have been produced in the mediation context or that may be inadvertently
         produced under this Discovery Plan. Any Discovery Participant may
         request the load files for the Mediation Dataroom containing metadata
         from Merrill in order to facilitate loading such documents on a review
         platform of their choosing.



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         d) No Waiver o f Privilege

         The fact that a document has been produced by any Discovery Participant
         shall not be deemed to be an admission o f relevance, nor an automatic
         waiver o f privilege where a document has been, or is, produced
         inadvertently and/or under circumstances where the producing party did
         not intend to waive privilege (for itself or any other Discovery Participant
         who asserts privilege over the document), and any Discovery Participant
         who asserts privilege over the document may ask that it be clawed back
         under a procedure to be provided for in a confidentiality or protective
         order.

         f ) Document Requests

         Bv no later than Mav 22.2013

         For Allocation, each Allocation Group shall be entitled to serve limited
         reasonable requests for production o f non-privileged documents, such
         requests to represent the coordinated effort of all Discovery Participants
         within the Allocation Group, on each opposing Discovery Participant;
         provided that the Bondholder Group, prior to making such requests, shall
         consult with the Canadian Allocation Group and the US Allocation
         Group, as applicable, to avoid duplication and undue burden. The
         Discovery Participants who do not belong to any Allocation Group may
         suggest inclusions in the document requests o f an Allocation Group with
         similarly aligned interests. Further, such Discovery Participants who do
         not belong to an Allocation Group will have until May 24, 2013 to seek
         agreement with a Discovery Participant from whom it seeks documents
         and, failing agreement, to seek leave o f the Courts to make additional
         document requests if it believes in good faith that such requests are
         necessary and non-duplicative.

          For US Claims, each of the US EMEA Claimants Group, the UK Pension
          Claimants and the US Claims Defendant Group shall be entitled to serve
          limited and specific requests for production o f non-privileged documents
          on each opposing US Claim Party. The US Claims Defendant Group and
          the Bondholder Group shall confer on such requests. In addition, the
          EMEA Claimants Group, the UK Pension Claimants and the US Claims
          Defendant Group shall be entitled to serve limited and specific requests
          for production o f non-privileged documents on the Canadian Debtors,
          provided that any disputes are resolved by Canadian Court where the
          Canadian Debtors are the recipient o f the disputed document request and
          by the US Court where the US Debtors are the recipient o f the disputed
          document request. The Canadian and US Debtors' agreement to accept
          such discovery requests does not constitute submission to jurisdiction or a
          waiver o f rights or defenses for any other purpose.



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         For Canadian Claims, each of the Canadian EMEA Claimants Group, the
         UK Pension Claimants and the Canadian Claims Defendant Group shall
         be entitled to serve limited and specific requests for production o f non-
         privileged documents on each opposing Canadian Claim Party. The
         Canadian Claims Defendant Group and the Bondholder Group shall
         confer on such requests. In addition, the EMEA Claimants Group, the
         UK Pension Claimants and the Canadian Claims Defendant Group shall
         be entitled to serve limited and specific requests for production o f non-
         privileged documents on the US Debtors, provided that any disputes are
         resolved by Canadian Court where the Canadian Debtors are the recipient
         o f the disputed document request and bv the US Court where the US
         Debtors are the recipient of the disputed document request. The Canadian
         and US Debtors' agreement to accept such discovery requests does not
         constitute submission to jurisdiction or a waiver of rights or defenses for
         any other purpose.

         Discovery Participants will work in good faith to eliminate duplication
         and redundancy between Allocation document requests and US
         Claims/Canadian Claims document requests. Further, either by agreement
         or, failing such an agreement, by order o f the appropriate Court or Courts,
         ari Allocation Group or Claim Group may obtain leave to serve additional
         document requests upon a showing of good cause.

         g) Interrogatories

         Bv no later than Mav 22.2013

         For Allocation, each Allocation Group shall be entitled to serve a limited
         number o f reasonable Identification Interrogatories, such interrogatories
         to represent the coordinated effort o f all Discovery Participants within the
         Allocation Group, on each opposing Discovery Participant; provided that
         the Bondholder Group, prior to serving such interrogatories, shall consult
         with the Canadian Allocation Group and the US Allocation Group, as
         applicable, to avoid duplication and undue burden. The Discoveiy
         Participants who do not belong to any Allocation Group may suggest
         inclusions in the interrogatories o f an Allocation Group with similarly
         aligned interests. Further, such Discovery Participants who do not belong
         to an Allocation Group will have until May 24, 2013 to seek agreement
         with a Discovery Participant on whom it wishes to serve interrogatories
         and, failing agreement, to seek leave o f the Courts to serve additional
         interrogatories if it believes in good faith that such interrogatories are
         necessary and non-duplicative.

          For US Claims, each o f the US EMEA Claimants Group, the UK Pension
              Claimants and US Claims Defendant Group shall be entitled to serve
           ^ a limited number o f reasonable Identification Interrogatories on each
              opposing US Claim Party. The US Claims Defendant Group and the
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               Bondholder Group shall confer on such interrogatories. In addition,
               the EMEA Claimants Group, the UK Pension Claimants and the US
               Claims Defendant Group shall be entitled to serve a limited number
               o f reasonable Identification Interrogatories on the Canadian Debtors,
               provided that any disputes are resolved by Canadian Court where the
               Canadian Debtors are the recipient o f the disputed interrogatory and
               by the US Court where the US Debtors are the recipient of the
               disputed interrogatory. The Canadian and US Debtors' agreement to
               accept such interrogatories does not constitute submission to
           .   jurisdiction or a waiver of rights or defenses for any other purpose.

          For Canadian Claims, each of the Canadian EMEA Claimants Group, the
          UK Pension Claimants and the Canadian Claims Defendant Group shall
          be entitled to serve a limited number o f reasonable Identification
          Interrogatories on each opposing Canadian Claim Party. The Canadian
          Claims Defendant Group and the Bondholder Group shall confer on such
          interrogatories. In addition, the EMEA Claimants Group, the U K Pension
          Claimants and the Canadian Claims Defendant Group shall be entitled to
          serve a limited number o f reasonable Identification Interrogatories on the
          US Debtors, provided that any disputes are resolved by Canadian Court
          where the Canadian Debtors are the recipient o f the disputed interrogatory
          and by the US Court where the US Debtors are the recipient of the
          disputed interrogatory. The Canadian and US Debtors' agreement to
          accept such interrogatories does not constitute submission to jurisdiction
          or a waiver of rights or defenses for any other purpose.

          Discovery Participants will work in good faith to eliminate duplication
          and redundancy between Allocation interrogatories and US Claims
          interrogatories.   Further, either by agreement or, failing such an
          agreement, by order of the appropriate Court or Courts, an Allocation
          Group or Claim Group may obtain leave to serve additional Identification
          Interrogatories upon a showing of good cause.

          The availability of contention interrogatories shall be decided by mutual
          agreement among the Discovery Participants at a later date, and, failing
          agreement, by the Court(s).

          h) Responses and Objections

          Bv no later than June 10.2013

          When objecting to any discovery request, the recipient o f such discovery
          requests shall state the basis for objection, which may be made on any
          ground provided in the rules of the Applicable Procedural Regime set
          forth in section 2. Recipients are strongly encouraged to prepare joint
          objections to the same document request or interrogatories to the extent



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         their objections overlap.

         i) Production o fDocuments

         Rolling Productions of Documents Shall Commence June 10. 2013
         and Shall Be Completed bv July 22.201
                                        3:

         Subject to any objections made and sustained if challenged (see motions
         procedure below), each recipient of a document request shall produce any
         responsive non-privileged documents to any request made o f it to all
         Discovery Participants by producing such documents into the Merrill
         Lextranet database (to the extent they overlap, responses to multiple
         requests may be combined or cross-referenced to each other to avoid
         duplication). The producing Discovery Participant shall promptly notify
         all Discovery Participants of the Docid range of each production.

         In this same time frame, each Discovery Participant shall produce any
         further documents that they intend to rely upon at trial that are not already
         part of the mediation productions or responsive productions.

         j ) Motions to Compel Document Production

         Motions to Compel Document Productions Must Be Filed bv July 26.
         2013

         Any Discovery Participant who served document requests and who seeks
         to compel production of a document must do so only after meeting and
         conferring in good faith with the Discovery Participant against whom a
         motion is contemplated, and thereafter by serving a motion with
         supporting material, including legal argument/submissions, returnable in
         the applicable Court on seven business days notice on all Discovery
         Participants, and must establish that the ground for objection is not valid
         and that their position will be prejudiced in the absence of the response
         requested. The Discovery Participant whose objection is challenged shall
         respond to this motion within four business days and any other Discovery
         Participant whose interests are affected by the request may serve a
         supplementary response within two business days thereafter.

          Notwithstanding this deadline, whenever a discovery dispute arises, the
          affected Discovery Participants shall promptly attempt to resolve the
          dispute in good faith and, i f an impasse is reached, file any motions with
          the relevant Court(s) promptly.

          k) Privilege Logs

          Should a Discovery Participant withhold any document based on a claim
          of privilege or work product protection, the producing party shall provide
          a privilege log containing details about the category of documents

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                    withheld, including at least the following information for each category:
                    (a) the discovery participant asserting the privilege; (b) the subject matter
                    o f the category; (c) the date range; and (d) the author(s) and other
                    recipients, which may be grouped by employer (such as Nortel entity or
                    advisor or law firm). Discovery Participants may request additional
                    information regarding categories on the privilege log in order to assess the
                    basis for withholding and shall meet and confer on the same.

                    The following documents, to the extent created after the commencement
                    of the bankruptcy proceedings, presumptively need not be included on a
                    privilege log: (a) communications exclusively between a Discovery
                    Participant and its outside counsel or (b) work product created by outside
                    counsel and/or such counsel's agents.

                    Responsive documents which are jointly privileged as to two or more of
                    the Discovery Participants shall be produced, but only to those Discovery
                    Participants with whom the joint privilege is shared.

4. Format of        For each electronic document, the responding party shall provide the
   Production of    metadata specified in Schedule A, but only to the extent they can
   Electronic       reasonably be extracted or otherwise provided in a delimited text file.
   Records

5. Trial Witness    Bv no later than Julv 24.2013
   Identification
                    Each Discovery Participant shall identify any fact (non-expert) witnesses
                    it anticipates calling or presenting testimony of at trial, by name,
                    employer, title and functional role held during the time period relevant to
                    their anticipated testimony. A Discovery Participant may identify trial
                    witnesses not previously identified on good faith at a later date provided
                    that any opposing Allocation Group or Claim Group has had or will have
                    a reasonable opportunity to depose the later-identified witness before trial,
                    regardless of the fact discovery cut-off or number o f depositions taken.

                    Any Discovery Participant that has previously filed an affidavit or witness
                    statement in the context of this litigation (the Ontario and Delaware
                    proceedings) may also, at its option, choose to designate that evidence to
                    be tendered at trial as long as the witness will be made available to be
                    deposed and appears at trial for cross-examination.

6. Oral             a) Examinations o f Representatives/ 30(b)(6) Depositions
   Examinations
   Or               Bv no later than Julv 26.2013
   Depositions
                    For Allocation, each Allocation Group (other than the Bondholder
                    Allocation Group) may serve a request under Rule 34.04 o f the Ontario
                    Rules o f Civil Procedure and/or Rule 30(b)(6) o f the United States


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         Federal Rules of Civil Procedure on the solicitors or counsel o f record for
         any opposing Discovery Participant specifying the topics, if any, on which
         that other Discovery Participant's representative(s) is to be
         examined/deposed. The Bondholder Allocation Group shall consult with
         the Canadian Allocation Group and the US Allocation Group regarding
         any requests under Rule 34.04 o f the Ontario Rules of Civil Procedure
         and/or Rule 30(b)(6) of the United States Federal Rules of Civil
         Procedure it would like the US Allocation Group and the Canadian
         Allocation Group to serve on other Discovery Participants in accordance
         with the foregoing. In the event that Canadian Allocation Group and the
         US Allocation Group do not agree to serve such requests, the Bondholder
         Allocation Group may seek leave o f the Court or Courts, as applicable, by
         motion on notice to serve its own requests for examination under Rule
         34.04 o f the Ontario Rules of Civil Procedure and/or depositions under
         Rule 30(b)(6) o f the United States Federal Rules o f Civil Procedure.

         For US Claims, each of the US EMEA Claimants Group, the UK Pension
         Claimants and the US Claims Defendant Group may each serve a request
         under Rule 30(b)(6) of the United States Federal Rules of Civil Procedure
         on the counsel of record for any opposing US Claim Party specifying the
         topics, if any, on which the US Claim Party's representative is to be
         deposed. The US Claims Defendant Group and the Bondholder Group
         shall confer on such requests.

         For Canadian Claims, each of the Canadian EMEA Claimants Group, the
         UK Pension Claimants and the Canadian Claims Defendant Group may
         each serve a request under Rule 34.04 o f the Ontario Rules o f Civil
         Procedure on the solicitors/counsel of record for any opposing Canadian
         Claim Party specifying the topics, if any, on which the Canadian Claim
         Party's representative is to be examined/deposed. The Canadian Claims
         Defendant Group and the Bondholder Group shall confer on such
         requests.

         Use o f (Discovery) Answers at Trial

         Testimony of representatives proffered in response to requests under
         Ontario Rule 31.03 and/or Rule 30(b)(6) of the United States Federal
         Rules o f Civil Procedure may be used as evidence at trial only by
         Discovery Participants whose interests are adverse to those o f the
         proffering Discovery Participants on the issue for which the evidence is
         being used.

          Bv no later than August 2. 2013

          Each Discovery Participant served with a request under Rule 34.04 o f the
          Ontario Rules of Civil Procedure and/or Rule 30(b)(6) o f the United
          States Federal Rules of Civil Procedure shall designate a representative(s)


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         (who may, but is not required to be, a current or former officer, director or
         employee o f that Discovery Participant) to be offered to be
         examined/deposed as though Rule 31.03 of the Ontario Rules o f Civil
         Procedure applied and/or under Rule 30(b)(6) of the United States Federal
         Rules of Civil Procedure as applicable. All Discovery Participants shall
         have the right to attend such examinations/depositions.

         A Discovery Participant may designate its party representative(s) under
         Rule 34.04 o f the Ontario Rules of Civil Procedure as its witness(es)
         under Rule 30(b)(6) of the United States Federal Rules of Civil Procedure
         for a single examination/deposition of each such witness(es).

         b) Oral Examinations/ Deposition o f Fact Witnesses:

         Bv no later than July 29,2013

         In addition to the aforementioned examinations/depositions pursuant to
         Rule 34.04 of the Ontario Rules of Civil Procedure and/or Rule 30(b)(6)
         o f the United States Federal Rules o f Civil Procedure, each Allocation
         Group and each Claim Group shall serve by this date notices stating the
         witnesses it wishes to examine or depose (which may include third
         parties, persons subject to the control o f a Discovery Participant or both
         and which may be persons who have been identified as trial witnesses by
         another Discovery Participant, and any persons whose previously filed
         affidavits/witness statements have been designated by a Discovery
         Participant as trial evidence) in order to obtain factual
         information/admissions relevant to Allocation, US Claims or Canadian
         Claims. Each witness shall be named and his/her place of residence (if
         known) shall be identified. The parties shall meet as soon as practicable
         after this date to confer and attempt to reach agreement on the list of
         witnesses to be deposed and the time for examination of each witness by
         each party. In the absence of agreement this shall be submitted to the
         relevant Court(s) for decision. The attorneys for the US Debtors, the
         Canadian Debtors and the EMEA Debtors agree to accept requests under
         Rule 34.04 o f the Ontario Rules of Civil Procedure and Depositions
         Notices the United States Federal Rules of Civil Procedure seeking to
         depose or examine persons under the control of their clients. All parties
         agree to cooperate in good faith in attempts to locate and obtain testimony
         from persons not under the control of any party, including through
         issuance of compulsory process, letters of request and other available
         procedures, except that no party shall be required to commence
         proceedings or pursue other procedures to secure testimony from
          witnesses that are not in its control and from which that party does not
         seek testimony.

         The Bondholder Group shall consult with the Canadian Allocation Group
         and the US Allocation Group, as applicable, regarding any fact witnesses

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         it seeks to examine/depose. In the event that the Canadian Allocation
         Group and the US Allocation Group do not intend to designate such fact
         witnesses that the Bondholder Group seeks to designate, the Bondholder
         Group may seek leave of the Court or Courts, as applicable, by motion on
         notice to designate such fact witnesses.

         Either by agreement or, failing such an agreement, by order o f the
         appropriate Court or Courts, an Allocation Group or Claim Group may
         obtain leave to designate additional fact witnesses upon a showing of
         good cause.

         All examinations/deDositions to be comoleted bv no later than
         SeDtember 27,2013

         The relevant parties shall meet and confer and attempt to agree on the fact
         witnesses to be examined/deposed and on an examination/deposition
         schedule that contemplates the completion o f all witness
         examinations/depositions (including any examinations/depositions for
         testimony preservation that the Court(s) may have granted leave to
         conduct) in this time frame that reflects the practicalities of
         examining/deposing each witness (having regard to the number of
         Discovery Participants examining/deposing, the subject matter o f the
         examinations/depositions, the available time for completion o f all
         examinations/depositions and the residence o f the witness).            All
         Discovery Participants shall have the right to attend such
         examinations/depositions.

         The relevant parties will attempt to schedule depositions with a preference
         to finish fact witness depositions prior to any representative party
         examinations or Rule 30(b)(6) depositions.

         c) Use o f Examinations/Depositions at Trial

         Designated portions o f any examination/deposition may be filed as part of
         the evidence that any Discovery Participant may rely upon at trial in
         accordance with the usual rules that apply in the Canadian and US Courts,
         respectively.




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         Bv no later than September 13.2013

         Each Discovery Participant that intends to rely on the opinion evidence of
         a qualified expert shall identify the name of its intended expert(s) and the
         subject matter of their expertise and intended evidence.

         Bv no later than October 4.2013

         Each Discovery Participant shall deliver an affidavit or report from their
         identified expert(s) setting out his/her findings, opinions and conclusions
         and identifying all documents/factual evidence relied upon in attached
         exhibits or by Bates number if previously produced, and containing the
         disclosures required by the Applicable Procedural Regime set forth in
         section 2.

         Any Discovery Participant that has previously filed an affidavit or report
         from an expert in the context of this litigation (the Ontario and Delaware
         proceedings) may, at its option, choose to designate that as part of their
         expert evidence at trial, provided that the expert will be made available to
         be examined/deposed and appears at trial as set out below. If not so
         designated, those previously filed affidavits and/or reports shall not
         constitute part of the evidence at trial.

         Promptly after the submission of initial expert affidavits or reports, the
         Discovery Participants shall attempt to agree upon an expert
         examination/deposition schedule so that depositions can commence by
         November 8,2013.

         Bv no later than November 1.2013

         Each Discovery Participant shall have the right to deliver an affidavit or
         report from an expert, including a newly identified rebuttal expert, in
         response to one received by another Discovery Participant that addresses
         an issue that is adverse to the Discovery Participant's position in the
         Allocation, US Claims, or Canadian Claims litigation. Responses shall be
         permitted even if the Discovery Participant did not initially tender an
         expert's affidavit, if an issue is raised by an expert whose evidence is
         tendered by another Discovery Participant that calls for response.
         Responsive reports shall be limited to responding to issues on which an
         affirmative expert report has been proffered and shall not go beyond such
         issues.

         Bv no later than December 6. 2013

         As soon as practicable, the Discovery Participants shall meet and confer
         and attempt to agree on a schedule that contemplates the completion o f all
         expert witness examinations/depositions between November 8, 2013 and
         December 6, 2013 that reflects the practicalities o f examining/deposing

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                   each witness (having regard to the number of parties examining/deposing,
                   the subject matter of the examinations/depositions, the available time for
                   completion of all examinations/depositions and the residence o f the
                   witness). All Discovery Participants shall have the right to attend such
                   depositions.

                   A Discovery Participant may request that any expert be present at trial for
                   cross-examination, and the affidavit or report o f any expert not appearing
                   at trial if requested to appear cannot be filed as evidence unless agreed to
                   by all Discovery Participants adverse to the expert's position.

                   The affidavits and/or reports shall be filed as evidence with the court at
                   the trial, subject only to cross-examination at trial and any applicable
                   objections that may be made and determined at the outset o f the trial and
                   directions or rulings from the Court(s) arising therefrom. The Discovery
                   Participant proffering the expert may elect to take a short direct
                   examination of the expert at trial solely to introduce the expert and
                   provide brief background or summary o f the expert's report. The affidavit
                   or report of any expert not appearing at trial cannot be filed as evidence
                   unless agreed to by all Discovery Participants adverse to the expert's
                   position.

                   Communications with Experts:

                   The experts shall not be examined/deposed about or asked to produce
                   prior drafts o f their affidavits/reports and/or their communications with
                   the Discovery Participant who retained them or other Discovery
                   Participants within the same Allocation Group or Claim Group, or their
                   respective Representatives, or any other topic protected from disclosure
                   by the Applicable Procedural Regime set forth in section 2.

                   With respect to Allocation and US Claims, Rule 26 of the United States
                   Federal Rules of Civil Procedure applies to expert discovery.

8. General         Length of Oral Examinations/Depositions
   Procedure
   Applicable to   The Discovery Participants will include for discussion in the meet and
   AU Oral         confer scheduled for August 5 the Discovery Participants' proposals for
   Examinations/   limits on the length o f oral examinations/depositions and the procedure
   Depositions     for conducting such examinations/depositions.

                   Coordinatine Oral Examinations/Deoositions

                   Each examination/deposition shall be coordinated so that a lead examiner
                   is' identified for each group that noticed the oral examination/deposition
                   (where an Allocation Group and Claim Group from the same jurisdiction
                   counts as one group). Lead examiners shall work in good faith with any
                   other lead examiners as well as other affected Discovery Participants to

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         reflect a coordinated effort to avoid duplication o f questions. For the
         avoidance o f doubt, the US Claim Parties shall have the right to attend
         oral examinations/depositions that relate to the Canadian Claims, and the
         Canadian Claim Parties shall have the right to attend oral
         examinations/depositions that relate to the US Claims.

         Transcriots and video taoine:

         All examinations/depositions shall be taken under oath in the presence of
         a Canadian or US certified court reporter and transcribed and the
         transcripts made available to all Discovery Participants, whether or not
         they are in attendance at the examination/deposition. At the option o f any
         examining/deposing Discovery Participant, the examination/deposition
         may be video-taped but the use to which the video tape may be put shall
         be entirely in the discretion o f the Court(s). The examining/deposing
         Discovery Participants) shall proportionally pay for the cost o f the first
         arid Court copies o f the transcript and all other parties shall pay for their
         own copies.

         Obiections:

         Objections may be made on any ground provided in the rules o f the
         Applicable Procedural Regime set forth in section 2. Questions that are
         objected to on grounds other than privilege shall be answered under
         reserve o f that objection. All other objections shall be preserved.

         Reauirement for Summons:

         I f a summons, subpoena or other process is required to compel the
         attendance at deposition o f any witness, the Monitor, the US Debtors, the
         Joint Administrators, and the UK Pension Claimants shall reasonably
         assist in issuing process or otherwise procuring a witness's attendance
         irrespective of which Discovery Participant has sought the witness's
         deposition, except that no party shall be required to commence
         proceedings or pursue other procedures to secure testimony from
         witnesses that are not in its control and from which that party does not
         seek testimony. Neither resort to the courts o f any jurisdiction for the
         purposes of compelling a witness's production for deposition nor
         conducting a deposition in any jurisdiction shall constitute attornment or
         consent to that jurisdiction for any other purpose.

          Undertakings:

         With respect to Allocation and Canadian Claims, the witness shall answer
         any undertakings that were agreed to on his/her examination/deposition
         within two weeks o f the date o f his/her examination/deposition, unless
         otherwise agreed to by the affected Discovery Participants.


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9. General      Any Discovery Participant may make a motion to the Court to compel
   Terms        another Discovery Participant to take the steps contemplated by the
                Discovery Plan or other steps, and the parties agree that the Court(s) may
                take the existence o f the Discovery Plan into account in determining
                whether to grant the order sought. The Discovery Participants that are
                parties to such a motion may seek to justify their respective positions on
                the basis of, among other things, any information that was unknown or not
                reasonably available to that Discovery Participant at the time the
                Discovery Plan was entered into.

                The Discovery Participants recognize that, as additional information
                becomes available throughout the Allocation, US Claims and Canadian
                Claims litigation, it may become apparent that: (a) it is impracticable or
                impossible for a Discovery Participant to comply with the terms o f the
                Discovery Plan, or to do so in a time-efficient or cost-efficient manner, or
                (b) further steps, beyond those set out in this Discovery Plan, are required
                in order for a Discovery Participant to obtain access to potentially relevant
                documents, information or witness testimony. Each Discovery Participant
                agrees to notify the other Discovery Participants promptly when it
                reasonably believes that it will not comply with any term o f the Discovery
                Plan or when it reasonably concludes that further steps beyond those set
                out in this Discovery Plan are required. The Discovery Participants agree
                to negotiate in good faith with respect to any amendments to the
                Discovery Plan requested by a Discovery Participant on that basis, and to
                seek the assistance of the Courts(s) when appropriate in order to resolve
                disputes between the Discovery Participants.

                All Discovery Participants shall meet and confer in good faith without the
                assistance of the Court(s) in attempting to resolve any disputes in the
                interpretation or implementation of this Discovery Plan. Discovery
                Participants are required to promptly seek relief from the applicable Court
                or Courts if an impasse is reached in any dispute and shall not be heard to
                complain of any prejudice resulting from their own delay in seeking relief.

                All motions or directions sought from the Court(s) pursuant to this
                Discovery Plan shall be brought before the following Court or Courts:
                with respect to Allocation, before Judge Gross o f the United States
                Bankruptcy Court for the District Court o f Delaware and Justice
                Morawetz of the Ontario Superior Court o f Justice; with respect to US
                Claims, before Judge Gross; and with respect to Canadian Claims, before
                Justice Morawetz. The Courts shall hold regularly scheduled joint
                discovery conferences for discovery disputes in Allocation and those
                discovery disputes that affect both jurisdictions.

                The EMEA Debtors' participation in the procedures addressed herein is
                without prejudice to their contention that Allocation should be decided by
                arbitration rather than the US and Canadian Courts, and shall not be

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         construed as a waiver o f their objection to determining Allocation in
         accordance with the procedures set forth in the Allocation Protocol, this
         Discovery Plan and the Litigation Timetable.

         All Discovery Participants reserve any rights they may have to object to
         the standing o f any party to participate in any trial.




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                                                    SCHEDULE A

Format for Exchange of Productions: Productions will be exchanged by loading each production into the
Merrill Lextranet database with the following objectively coded metadata, if reasonably possible, and in
the following form:

Item              Field             Field Type      Description                                                   Format

Document          Docid             Note Text       Unique document ID number (alpha prefix followed by           AA0000001
Numbering                                           sequential numbering)

                  Parentid          Note Text       Docid for the parent e-mail or document that has an           AA0000001
                                                    attachment associated with it
                        I . 7
                  JkttCtiKJS        Note text       uocid(s) attached to Parentid                                 AAOOOOOOI

Fields/Coded      Datesent          Date            Used to identify the date that an e-mail was sent             MM/DD/YYYY
D a t a for E ­                                                                                                   A s per metadata
mails
                  Timesent          Time            Time e-mail was sent                                          A s per metadata
                                                                                                                  (HH:MM:SS)

                  Timercvd          Time            Time e-mail was received                                      As per metadata
                                                                                                                  (HH:MM:SS)

                  To            ,   Multi-Entiy     Name/e-mail address o f the address(es) o f individuals       As per metadata
                                                    who received the e-mail

                  From              Note Text       Name/e-mail address o f the person who sent the e-mail        A s per metadata

                  Subject           Note Text       Contents o f the subject field in the e-mail                  A s per metadata

                  Cc                Multi-Entiy     Names/e-mail address(es) o f the individuals who were         As per metadata
                                                    copied on the e-mail

                  Bcc               Multi-Entry     Names/e-mail address(es) o f the individuals who were         As per metadata
                                                    blind-copied on the e-mail

                  Media             Note Text       Used to identify the type o f media for an attachment         As per metadata
                                                    When loading eDocs, this field will be filled in with
                                                    either eMail, Attachment or eDoc
                                                    This field is required for loading electronic documents
                                                    and attachments

Fields/Coded      Datesvd           Date            Date an electronic file or attachment was last saved          As per metadata
Data for
                  Datecrtd          Date            Used to identify the date that an electronic file or          A s per metadata
Attachments
                                                    attached document was created
and L o o s e
Electronic        Filetype          Note Text       Type o f file o f an electronic file or attachment            A s per metadata
Documents
                  Filename      '   Note Text        File name o f electronic file or attachment                  A s per metadata

                  Doclink           Note Text        Used to link a document to the database record               A s per metadata
                                                     Only to be provided for Spreadsheets since being
                                                     produced in native format instead o f tiff-ed images

                  Folder            Note Text        Original folder containing path o f electronic document as   As per metadata
                                                     provided

                  Custodian         Note Text        Person from whom document was collected                      A s per metadata

                   Media            Note Text        Used to identify the type o f media for an attachment        A s per metadata
                                                    When loading eDocs, this field will be filled in with
                                                    either eMail, Attachment or eDoc
                                                    This field isrequired for loading electronic documents
                                                    and attachments.




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Item             Field             Field T y p e      Description                                               Format
Fields/Coded     Docdate           Date               Date o f document (subjectively coded)                    MM/DD/YYYY
Data for Paper
Documents        CollectDate       Date               Creation Date o f Electronic File                         MM/DD/YYYY

                 Source            Note Text          Location or person from whom document was collected
                                                      (subjectively coded)

                 Attach#           Note Text          Sequential number applied to attachments showing          .001,.002, etc.
                                                      attachment sequence

                 Author            Multi-Entry        Authors) o f document (subjectively coded)                Last name, first
                                                                                                                name [corporate
                                                                                                                affiliation]

                 Recip             Multi-Entry        Recipi(>nt(c) nfrlnmmftnt (cnhjerrivply mdwi)             1 -astpame, fjrst
                                                                                                                name [corporate
                                                                                                                affiliation]

Fields/Coded     Leaddate          Date               Date o f the parent document, populated to all            MM/DD/YYYY
Data for                                              attachments for use with chronological sorting while
Electronic                                            keeping document families together
Documents
(Chronological   Leadtime      '   Date               Time o f the parent document, populated to all            HH:MM:SS
Review)                                               attachments for use with chronological sorting while
                                                      keeping document families together
                                                      Allows for further sorting o f documents dated the same
                                                      day by time




1.       Each document shall be individually produced with a unique document ID number.

2.       For each document, the Discovery Participant shall provide a text file containing the text
         extracted directly from the native electronic version of that document, unless the
         document was redacted, is an image file, is a scanned hardcopy document, or is in
         another format from which text cannot be reasonably extracted. In these instances,
         provide a text file created using document-level optical character recognition (OCR) to
         the extent reasonably practicable.

3.       All images will be single page tiff format (excluding spreadsheets, Powerpoint
         presentations, and database files which will be provided in native format) with 300 dpi
         specifications to the extent practicable. Native format files to be provided in the eDocs
         folder.

4.       Parties will provide the following load files formatted as follows:

         (a)     Image folder (single page tiff, 300 dpi);

         (b)     eDocs folder (for native files);

         (c)     OCR folder (with text files and a control list for loading);

         (d)     data.txt or data.csv (with coded fields listed above for ESI and paper
                 documentation); and




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     (e)    imginfo.txt or imginfo.csv or other formats at the request o f the receiving party to
            the extent practicable.

5.   I f a document and its exact duplicates are associated with the same custodian, the
     responding party may withhold the exact duplicates from production. I f a document and
     its exact duplicates are associated with different custodians, the responding party may
     withhold the exact duplicates from production and provide a metadata field for the
     produced document indicating the custodians for whom duplicates were withheld where
     practicable.

6.   While Discovery Participants will attempt in good faith to comply with all o f the above,
     Discovery Participants shall produce documents and comply with the above to the extent
     practicable.




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   IN THE MATTER OF A PLAN OF COMPROMISE OR ARRANGEMENT OF NORTEL                                  Court File No: 09-CL-795C
  NETWORKS CORPORATION, NORTEL NETWORKS LIMITED, NORTEL NETWORKS
"GLOBAL CORPORATION, NORTEL NETWORKS INTERNATIONAL CORPORATION AND
              NORTEL NETWORKS TECHNOLOGY CORPORATION
                                                                                                ONTARIO
                                                                                    SUPERIOR COURT OF JUSTICE
                                                                                     Proceeding commenced at Toronto



                                                                                                  ORDER
                                                                                         (Litigation Timetable and
                                                                                               Discovery Plan)


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